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           UNITED STATES COURT OF APPEALS
         FOR THE DISTRICT OF COLUMBIA CIRCUIT
                  _________________________

                              No. 22-3042
                       _________________________


UNITED STATES OF AMERICA,                                          Appellee,

           v.

COUY GRIFFIN,                                                     Appellant.


  A PPELLEE ’ S M OTION T O V ACATE C ONVICTION AND
                R EMAND F OR D ISMISSAL

     Pursuant to the Executive Order issued by President Donald J.

Trump dated January 20, 2025, Granting Pardons and Commutation of

Sentences for Certain Offenses Relating to the Events at Or Near the

United States Capitol on January 6, 2021, the United States moves this

Court to vacate appellant Couy Griffin’s conviction and to remand the

case to the district court for dismissal with prejudice pursuant to Federal

Rule of Criminal Procedure 48(a). Griffin’s deadline to move for rehearing

en banc is currently March 21, 2025, and thus the government

respectfully requests that the Court extend that deadline for as long as

necessary to decide this motion.
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     In support of this motion, the United States submits as follows:

     1. In the Executive Order issued on January 20, 2025, President

Trump directed the Attorney General to pursue dismissal with prejudice

of all pending cases against individuals for their conduct related to the

events at or near the United States Capitol on January 6, 2021.

     2. The United States respectfully submits that Rule 48(a) provides

the appropriate procedural mechanism to accomplish the dismissal

directed by the Executive Order. See, e.g., United States v. Watts, 422

U.S. 1032, 1032 (1975) (“Upon representation of the Solicitor General set

forth in his brief for the United States filed May 2, 1975, judgment

vacated, and case remanded to the United States District Court for the

Northern District of Georgia to permit the Government to dismiss

charges against petitioner.”); Bronsozian v. United States, No. 19-6220,

2020 WL 1906543, at *1 (U.S. Apr. 20, 2020) (“Judgment vacated, and

case remanded to the United States Court of Appeals for the Ninth

Circuit for further consideration in light of the pending application to

vacate the judgment and dismiss the indictment.”); United States v.

Burdeau, 168 F.3d 352, 359 (9th Cir. 1999) (“Under Federal Rule of

Criminal Procedure 48(a), the government has the power to move to


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dismiss any count of the indictment as long as the defendant’s appeal is

pending and the decision is therefore not final.”).

     3. The government has contacted Griffin’s counsel, Lisa Wright,

Esq., who has indicated that she does not oppose the vacatur of Griffin’s

conviction. Counsel stated that it had been Griffin’s intention to seek en

banc review from this Court, and, if necessary, review in the Supreme

Court, and that Griffin believes the panel opinion should be vacated along

with his conviction. See United States v. Schaffer, 240 F.3d 35 (D.C. Cir.

2001) (en banc).

     4. The government disagrees with Griffin’s position on vacatur of

the panel opinion. In United States v. Munsingwear, Inc., the Supreme

Court stated that “[t]he established practice of the Court in dealing with

a civil case from a court in the federal system which has become moot

while on its way here or pending our decision on the merits is to reverse

or vacate the judgment below and remand with a direction to dismiss.”

340 U.S. 36, 39 (1950). The Court subsequently explained:

     Because this practice is rooted in equity, the decision whether
     to vacate turns on “the conditions and circumstances of the
     particular case.” United States v. Hamburg-Amerikanische
     Packetfahrt-Actien Gesellschaft, 239 U.S. 466, 478 (1916). One
     clear example where “[v]acatur is in order” is “when mootness
     occurs through . . . the ‘unilateral action of the party who

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     prevailed in the lower court.’” Arizonans for Official English
     v. Arizona, 520 U.S. 43, 71-72 (1997) (quoting U.S. Bancorp
     Mortgage Co. v. Bonner Mall Partnership, 513 U.S. 18, 23
     (1994)). “‘It would certainly be a strange doctrine that would
     permit a plaintiff to obtain a favorable judgment, take
     voluntary action that moots the dispute, and then retain the
     benefit of the judgment.’” 520 U.S., at 75 (alterations omitted).

Azar v. Garcia, 584 U.S. 726, 729 (2018). The purpose underlying this

rule “is to prevent an unreviewable decision from spawning any legal

consequences, so that no party is harmed by . . . a ‘preliminary’

adjudication.” Camreta v. Greene, 563 U.S. 692, 713 (2011).

     Vacatur is an “extraordinary remedy,” and it is the burden of “the

party seeking relief from the status quo of the appellate judgment” to

show “equitable entitlement” to relief. U.S. Bancorp Mortgage Co., 520

U.S. at 26. Vacatur “is an equitable remedy, not an automatic right.”

Moore v. Thurston, 928 F.3d 753, 758 (8th Cir. 2019). “[W]hen federal

courts contemplate equitable relief,” they must “take account of the

public interest.” U.S. Bancorp Mortgage Co., 520 U.S. at 26. “‘Judicial

precedents are presumptively correct and valuable to the legal

community as a whole. They are not merely the property of private

litigants and should stand unless a court concludes that the public

interest would be served by a vacatur.’” Id. (quoting Izumi Seimitsu



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Kogyo Kabushiki Kaisha v. U.S. Philips Corp., 510 U.S. 27, 40 (1993)

(Stevens, J., dissenting)).

     The Supreme Court “has never applied Munsingwear in a criminal

case, so it is not clear that its general principles apply in this context.”

United States v. Silva, No. 22-5954, 2023 WL 3001570, at *3 (6th Cir.

Apr. 19, 2023); see United States v. Tapia-Martinez, 361 F.3d 535, 537-38

(9th Cir. 2004) (“It is an open question, however, whether the vacatur

rule of Munsingwear even applies in criminal cases, given the [Supreme]

Court’s repeated statements that vacatur is the governing practice in

civil cases. . . . The Supreme Court has never applied Munsingwear in a

criminal case. Neither have we.”). We acknowledge, however, that while

sitting en banc in a criminal case, this Court has said: “When a case

becomes moot on appeal, whether it be during initial review or in

connection with consideration of a petition for rehearing or rehearing en

banc, this court generally vacates the District Court’s judgment, vacates

any outstanding panel decisions, and remands to the District Court with

direction to dismiss.” Schaffer, 240 F.3d at 38.

     Even assuming the correctness of Schaffer’s “general[ ]” rule, there

are good reasons not to apply it here. The government agrees that


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Griffin’s conviction should be vacated and the case against him dismissed

with prejudice. This resolution “remov[es] the prime reason for vacatur—

to protect the losing party from the collateral effects of a judgment that

it might have been able to have overturned but for the mooting event.”

Clarke v. United States, 915 F.2d 699, 707 (D.C. Cir. 1990) (en banc); see

Camreta v. Greene, 563 U.S. at 713 (“The point of vacatur is to prevent

an unreviewable decision ‘from spawning any legal consequences,’ so that

no party is harmed by what we have called a ‘preliminary’ adjudication.”)

(quoting Munsingwear, 340 U.S. at 40-41). Given that Griffin has been

pardoned and the case against him will be dismissed with prejudice,

there is no possibility that he can again stand trial for his actions at the

Capitol on January 6; there is thus no need “to clear the path for future

relitigation of the issues raised.” Flynt v. Weinberger, 762 F.2d 134, 135-

36 (D.C. Cir. 1985); see Camreta, 563 U.S. at 714 n.11 (explaining that

the Court was vacating only the part of the lower court’s ruling “that has

prospective effects on [the petitioner]”).

     Under the circumstances of this case, allowing the panel decision to

stand will have no adverse legal consequences on Griffin, and thus

vacatur of that opinion would not serve the purposes of Munsingwear. As


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the Ninth Circuit explained in a case where the case against a defendant

was dismissed with prejudice after a guilty verdict:

     [T]here [will be] no final judgment of conviction in this case;
     instead, there [will be] a final judgment of dismissal with
     prejudice. This lack of a final judgment of conviction precludes
     the attachment of “legal consequences,” Camreta, 563 U.S. at
     713, such as a sentencing enhancement in a subsequent
     criminal case or claim or issue preclusion in a civil case. For
     this reason, vacating the verdict here would not serve the
     purposes of Munsingwear.

United States v. Arpaio, 951 F.3d 1001, 1006 (9th Cir. 2020).

     Here, Griffin will suffer no harm from his “inability to [challenge]

the [panel] decision.” Acheson Hotels LLC v. Laufer, 601 U.S. 1, 19-20

(2023) (Jackson, J., concurring). There will be no legal consequences to

Griffin if the panel decision is allowed to stand, but the public will benefit

by allowing that “presumptively correct and valuable” judicial precedent

to stand. U.S. Bancorp Mortgage Co., 520 U.S. at 26. Griffin thus cannot

show an “equitable entitlement” to the “extraordinary remedy” of vacatur

of the panel opinion. Id.




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                              Conclusion

     WHEREFORE, the United States respectfully requests that this

Court enter an order vacating the defendant’s convictions and remanding

the case to the district court for dismissal under Federal Rule of Criminal

Procedure 48(a), while leaving the panel opinion intact.

                                  Respectfully submitted,

                                  E DWARD R. M ARTIN , J R .
                                  United States Attorney

                                                     /s/
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                     C ERTIFICATE OF S ERVICE

     I HEREBY CERTIFY that I have caused a copy of the foregoing

motion to be served by electronic means upon appellant’s attorney, Lisa

Wright, Esq., Lisa_Wright@fd.org, on this 18th day of March, 2025.

                                                     /s/
                                  D ANIEL J. L ENERZ
                                  Assistant United States Attorney


    C ERTIFICATE OF C OMPLIANCE WITH R ULE 27( D )

     I HEREBY CERTIFY pursuant to Fed. R. App. P. 27(d)(2)(A)

that the foregoing motion contains 1,611 words, and therefore complies

with the type-volume limitation of Fed. R. App. P. 27(d)(2)(A). The motion

was prepared in 14-point Century Schoolbook, a proportionally spaced

typeface.

                                                     /s/
                                  D ANIEL J. L ENERZ
                                  Assistant United States Attorney
